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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No: 1:07-CR-259-01

v                                                            HON. JANET T. NEFF

LARON ANTINO BRAXTON,

               Defendant.
                                          /


                ORDER ADOPTING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

        THEREFORE, IT IS ORDERED that:

        1. The Report and Recommendation of the Magistrate Judge (Dkt 51) is approved and

adopted as the opinion of the Court.

        2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charges

set forth in Counts 1, 2, and 3 of the Second Superseding Indictment.

        3. There is no written or oral plea agreement in this matter.




Dated: March 3, 2008                                    /s/ Janet T. Neff
                                                     JANET T. NEFF
                                                     United States District Judge
